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                                           #:8313



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   6
     Attorneys for Defendants
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   8                            UNITED STATES DISTRICT COURT
   9              CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
  10
  11 ALEX VILLANUEVA,                                CASE NO. 2:24-cv-04979 SVW (JCx)
  12                   Plaintiff,                    DECLARATION OF JASON H.
                                                     TOKORO IN SUPPORT OF
  13              v.                                 DEFENDANTS’ MOTION TO
                                                     QUASH PLAINTIFF’S TRIAL
  14 COUNTY OF LOS ANGELES,                          SUBPOENAS OR, IN THE
     COUNTY OF LOS ANGELES                           ALTERNATIVE MOTION IN
  15 SHERIFF’S DEPARTMENT, LOS                       LIMINE
     ANGELES COUNTY BOARD OF
  16 SUPERVISORS, COUNTY EQUITY                      [Filed Concurrently with Notice of
     OVERSIGHT PANEL, LOS                            Motion; Memorandum of Points and
  17 ANGELES COUNTY OFFICE OF                        Authorities; and [Proposed] Order]
     INSPECTOR GENERAL,
  18 CONSTANCE KOMOROSKI,                            Date: June 2, 2025
     MERCEDES CRUZ, ROBERTA                          Time: 1:30 p.m.
  19 YANG, LAURA LECRIVAIN,
     SERGIO V. ESCOBEDO, RON                         Crtrm.: 10A - First Street Courthouse
  20 KOPPERUD, ROBERT G. LUNA,
     MAX-GUSTAF HUNTSMAN,                            Assigned to the Hon. Stephen V.
  21 ESTHER LIM, and DOES 1 to 100,                  Wilson, Crtrm. 10A and Magistrate
     inclusive,                                      Judge Jacqueline Chooljian, Crtrm. 750
  22
                Defendants.                          Trial Date:      June 3, 2025
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          TOKORO DECLARATION IN SUPPORT OF DEFENDANTS’ MOTION TO QUASH PLAINTIFF’S TRIAL
                       SUBPOENAS OR, IN THE ALTERNATIVE, MOTION IN LIMIINE
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   1                          DECLARATION OF JASON H. TOKORO
   2              I, Jason H. Tokoro, declare as follows:
   3              1.    I am an attorney duly admitted to practice before this Court. I am a
   4 partner with Miller Barondess, LLP, counsel of record for Defendants. I have
   5 personal knowledge of the facts set forth herein, and if called as a witness, I could
   6 and would competently testify to all of said facts. I make this declaration in support
   7 of Defendants’ Motion to Quash Plaintiff Alex Villanueva’s Trial Subpoenas Or, In
   8 the Alternative, Motion In Limine.
   9 The Court Grants Defendants’ Motion For Protective Order
  10              2.    Plaintiff previously sought to take the depositions of Los Angeles
  11 County Board Supervisors Hilda Solis and Janice Hahn and Los Angeles County
  12 Sheriff Robert Luna.
  13              3.    The County objected based on the apex doctrine, and filed a motion for
  14 protective order. (See Dkt No. 86.)
  15              4.    On April 10, 2025, Magistrate Judge Jacqueline Chooljian granted the
  16 motion. (See id.)
  17              5.    In the Order, the Court found the following:
  18              (1) the three witnesses in issue qualify for treatment as “apex”
                  witnesses; (2) there are no extraordinary circumstances that warrant the
  19
                  taking of their depositions; and (3) such witnesses do not appear to
  20              have unique first-hand, non-repetitive knowledge of the facts at issue in
                  the case that has not been or could not be obtained through less
  21
                  intrusive discovery methods. (Id. at 3.)
  22
                  6.    Plaintiff did not seek review of the Order.
  23
       Plaintiff Never Sought To Depose Supervisors Barger, Horvath, Or Mitchell
  24
                  7.    Plaintiff never sought to take the depositions of Los Angeles County
  25
       Board Supervisors Kathryn Barger, Lindsey Horvath, or Holly Mitchell.
  26
       Plaintiff Has Not Served Three Witnesses
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                  8.    While Plaintiff has listed each of the Apex Witnesses on his trial
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          TOKORO DECLARATION IN SUPPORT OF DEFENDANTS’ MOTION TO QUASH PLAINTIFF’S TRIAL
                       SUBPOENAS OR, IN THE ALTERNATIVE, MOTION IN LIMIINE
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   1 witness list, he has only served Defendants with trial subpoenas for Supervisors
   2 Hahn and Solis and Sheriff Luna.
   3              9.    Plaintiff has stated that he plans to serve trial subpoenas for Supervisors
   4 Barger, Horvath, and Mitchell.
   5       10. Plaintiff has already identified on his trial witness list every person who
   6 was involved in the Huntsman and Lim complaints, investigations, and outcome.
   7 The Parties’ Meet And Confer Efforts
   8              11.   On May 13, 2025, I met and conferred with Plaintiff’s counsel, Alex
   9 DiBona, regarding the substance of this Motion, but no agreement could be reached.
  10 Plaintiff would not agree to not to call the Apex Witnesses who are the subject of
  11 this Motion.
  12       I declare under penalty of perjury under the laws of the United States of
  13 America that the foregoing is true and correct.
  14      Executed on this 14th day of May, 2025, at Los Angeles, California.
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  16                                                  /s/ Jason H. Tokoro
  17                                                  Jason H. Tokoro

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          TOKORO DECLARATION IN SUPPORT OF DEFENDANTS’ MOTION TO QUASH PLAINTIFF’S TRIAL
                       SUBPOENAS OR, IN THE ALTERNATIVE, MOTION IN LIMIINE
